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14                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
15                               OAKLAND DIVISION

16
        ONE FAIR WAGE, INC.,                    Case No. 3:21-cv-2695
17                                              The Hon. Edward M. Chen
                 Plaintiff,
18                                              PLAINTIFF’S PROPOSED
           vs.
                                                SURREPLY BRIEF
19
        DARDEN RESTAURANTS, INC.,
20                                             [Filed concurrently with Plaintiff’s
                 Defendant.                    Application for Leave to File a
21                                             Surreply Brief and Proposed Order]
22
                                                Hearing Date: August 26, 2021
23
                                                Time: 1:30 p.m.
24
                                                Ctrm.: G – 15th Floor
25
                                                Complaint Filed: April 15, 2021
26
27
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 1         Plaintiff One Fair Wage, Inc. (“OFW”) files this short Surreply Brief
 2   exclusively to address arguments and evidence first raised by Defendant Darden
 3   Restaurants, Inc. in its Consolidated Reply Brief in Support of its Motions to
 4   Dismiss. (ECF No. 22); see, e.g., GT Nexus, Inc. v. Inttra, Inc., No. 11-cv-2145, 2014
 5   WL 3373088, at *1 (N.D. Cal. July 9, 2014) (granting leave to file sur-reply where
 6   the “reply brief contains new legal argument and new evidence”).
 7   I.    THIS COURT SHOULD NOT CONSIDER DARDEN’S TWO NEW
           ARGUMENTS AND NEWLY-SUBMITTED EVIDENCE.
 8
 9         Darden’s Reply makes two new legal arguments and supports them with a
10   request for judicial notice containing two new pieces of supposed evidence. (ECF No.
11   23.) This Court should not consider the arguments or the related evidence, because
12   “arguments raised for the first time in a reply brief are waived.” Graves v. Arpaio,
13   623 F.3d 1043, 1048 (9th Cir. 2010) (citation omitted); see also Pham v. Fin. Indus.
14   Regul. Auth. Inc., No. 12-cv-6374, 2013 WL 1320635, at *1 (N.D. Cal. Apr. 1, 2013)
15   (“[T]hese arguments—raised for the first time on reply—have been waived.”), aff’d
16   sub nom. Huy Pham v. Fin. Indus. Regul. Auth., Inc., 589 F. App’x 345 (9th Cir.
17   2014). Both arguments appear in the section regarding Darden’s (meritless)
18   contention that this Court lacks personal jurisdiction over it in this case.
19         First, directly contradicting plausible allegations in the Complaint, Darden
20   contends for the first time that OFW’s principal place of business—according to
21   Darden, its “nerve center”—is allegedly not in California, so OFW could not have
22   felt an injury in California. Darden then claims that this means this Court cannot
23   exercise specific jurisdiction over Darden. (ECF No. 22 at 8–9.) None of Darden’s
24   original motions to dismiss dispute the location of OFW’s principal place of business;
25   they do not use the phrase “nerve center”; and they do not cite Hertz Corp. v. Friend,
26   559 U.S. 77 (2010), and other related cases discussed extensively in Darden’s Reply.
27   (Compare ECF No. 22 at 8–9 with ECF No. 15 at 3–6.) Rather, this novel argument
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 1   changes Darden’s personal jurisdiction argument entirely: whereas the original
 2   (and meritless) argument for dismissal was premised on Darden’s conduct and
 3   activities in California (ECF No. 15 at 4–5), this new argument seeks to place in
 4   issue the site of OFW’s injury (ECF No. 22 at 8). What is more, in support of this
 5   novel argument, Darden has replaced jurisdictional discovery with a request to have
 6   this Court consider two pages of evidence supposedly subject to judicial notice.
 7   Darden has not explained why this Court should consider evidence that does not
 8   respond to Plaintiff’s opposition but is brought to the Court’s attention for the first
 9   time on reply. This Court should not consider the new evidence or argument.
10         Second, Darden argues for the first time in a footnote that, because OFW
11   allegedly failed to register to do business in California, a California statute that
12   applies to lawsuits based on intrastate conduct brought in California courts
13   prohibits this federal-court action. (ECF No. 22 at 9 n.4.) None of Darden’s motions
14   to dismiss make this argument or even cite the relevant provision, Corporations
15   Code § 2203(c). (See ECF Nos. 15–17.) Once again, Darden has not offered any
16   argument for how this contention may be pressed for the first time on reply. This
17   argument too is waived.
18   II.   DARDEN’S WAIVED ARGUMENTS ARE WRONG.
19         Because the Court might address these waived arguments (though it should
20   not), OFW briefly explains why they are both wrong. OFW ought to be permitted a
21   more fulsome response if this Court determines that these waived arguments
22   demand further consideration. See GT Nexus, 2014 WL 3373088, at *1 (N.D. Cal.
23   July 9, 2014) (noting that parties should be given a chance to respond before new
24   arguments are even considered).
25         First, Darden’s attempt to dispute where OFW directs its operations (and,
26   according to Darden, where OFW was allegedly injured) ignores OFW’s uncontested,
27   plausible allegation—which this Court assumes to be true at this stage—that OFW’s
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 1   “President . . . works for One Fair Wage in, and directs One Fair Wage’s actions
 2   from, Oakland, California.” (Compl. ¶ 68.) Darden has cited no authority for the
 3   proposition that the location where a small non-profit’s President and Founder
 4   directs operations cannot possibly be the non-profit’s “nerve center.” Anyway,
 5   Darden’s last-minute attempt to submit two pages of evidence to contest the
 6   Complaint’s allegations is inappropriate. At this early stage, “plaintiffs, in opposing
 7   the motion to dismiss, [are] only required to make . . . a prima facie showing that
 8   personal jurisdiction [is] proper.” Peterson v. Highland Music, Inc., 140 F.3d 1313,
 9   1319 (9th Cir. 1998). Darden may introduce evidence and contest the issue later on,
10   because “plaintiffs [bear] the heavier burden of prevailing on the jurisdictional issue
11   by a preponderance of the evidence if the issue [is] contested at trial.” Id. What
12   Darden may not do is leapfrog over discovery and override allegations in the
13   Complaint with two pages of reply evidence.
14         Second, Darden contends that OFW cannot maintain this federal-court action
15   because “[c]orporations that fail to register in California forfeit . . . the right to
16   maintain a lawsuit in the state relating to business activities in California.” (ECF
17   No. 22 at 9 n.4 (citing Cal. Corp. Code §§ 2105, 2203).) This argument is frivolous.
18   Section 2203(c) applies only to actions in “any court of this state”—that is, in
19   California state courts—and that California statute may not limit federal courts’
20   jurisdiction. See Memry Corp. v. Kentucky Oil Tech., N.V., No. 04-cv-3843, 2007 WL
21   3288890, at *3 (N.D. Cal. Nov. 5, 2007) (“[T]he right to sue in federal court on a right
22   that arises under a federal statute is not contingent on compliance with California
23   law for doing business in California.”); Kaisha v. Dodson, No. 08-cv-0225, 2008 WL
24   3398778, at *4 (N.D. Cal. Aug. 11, 2008) (“Because [plaintiff’s] claim arises under
25   [federal law] and the Court has jurisdiction under those laws . . . the state licensing
26   requirements [of § 2203] cannot prevent [plaintiff] from suing in federal court.”)
27   Darden fails to mention this major problem, and instead tellingly cites only a
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 1   California state case in support of dismissal. In any event, the statute also requires
 2   that a covered case be a proceeding “upon intrastate business,” id. § 2203(c)
 3   (emphasis added), and Darden cannot and does not argue that this is such a
 4   proceeding. Section 2203 is thus no bar to this action.
 5                                      CONCLUSION
 6         This Court should deem Darden’s arguments raised for the first time on Reply
 7   waived or, if it addresses them, should find that they lack merit.
 8
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